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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  SOUTHERN DIVISION
                                      at DAYTON

RYAN SCHULTE,                                     )
individually and on behalf of all                 )
other Ohio residents similarly situated,          )
                                                  )
Plaintiff,                                        )   Case No.: 3:19-cv-00026
                                                  )
                                                  )
v.                                                )
                                                  )
LIBERTY INSURANCE CORPORATION                     )
                                                  )
Defendant.                                        )


                  ORDER GRANTING MOTION TO CONSOLIDATE

        This matter came before the Court on the Parties’ Joint Motion to Consolidate two cases

pending before this Court. Having considered the briefing, the Court is of the opinion that the

Motion is well-taken and should be granted. Carter, et al. v. Safeco Insurance Company of Indiana,

et al., Case No. 3:20-cv-00002-TMR is hereby consolidated into and joined with this case for

settlement purposes.

        SO ORDERED this 5th day of November, 2020.


                                             s/Thomas M. Rose
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                                             UNITED STATES DISTRICT COURT JUDGE
